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  8                          UNITED STATES DISTRICT COURT
  9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 11   W & G FASHION CLOTHING, INC., a )            CASE NO.: 20-cv-08321-MWF-JPR
      Corporation,                         )
 12                                        )
                        Plaintiff,         )       ORDER ON STIPULATION TO
 13                                        )       LIMIT DAMAGES AND REMAND
                                           )       ACTION TO STATE COURT
 14                v.                      )
                                           )
 15                                        )
      THE TRAVELERS INDEMNITY              )
 16   COMPANY OF CONNECTICUT, a            )
      Corporation, and DOES 1 through 20,  )
 17   Inclusive,                           )
                                           )
 18                            Defendants. )
                                           )
 19                                        )
                                           )
 20
 21         Having considered the Stipulation to Limit Damages and Remand the Action
 22   to State Court filed by Plaintiff W & G Fashion Clothing, Inc. and Defendant The
 23   Travelers Indemnity Company of Connecticut, and for good cause shown, it is
 24   hereby ordered that:
 25         1.    Per the Stipulation of the Parties, the amount in controversy is within
 26   $75,000 and Plaintiff shall not seek or accept a verdict or judgment exceeding
 27   $75,000;
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                                             1
          ORDER ON STIPULATION TO LIMIT DAMAGES AND REMAND ACTION TO STATE COURT
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  1        2.    This action is remanded to the Los Angeles Superior Court, Case No.
  2   20STCV30332.
  3        IT IS SO ORDERED.
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      Dated: September 18, 2020
                                        By:
  6                                           Michael W. Fitzgerald
  7                                           United States District Judge

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         ORDER ON STIPULATION TO LIMIT DAMAGES AND REMAND ACTION TO STATE COURT
